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                                IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA                                                        Criminal Case

                                Complainant                             USA v. STEWART RHODES, et al.

                                                                                 1:22-cr-00015-APM
                v.

 ELMER STEWART RHODES, III
                                                                                  Honorable Amit P. Mehta,
                                                                              District Court Judge, Presiding
                                 Defendant




           NOTICE OF JOINDER OF DEFENDANT ELMER STEWART RHODES
    IN OMNIBUS MOTION TO COMPEL DISCOVERY OF CO-DEFENDANT KELLY MEGGS

        Defendant Elmer Stewart Rhodes, III (“Rhodes”) hereby respectfully moves the Court and provides

notice pursuant to his constitutional rights, civil rights, and rights at law to join in, move the court to grant, and

apply to his case Defendant Kelly Meggs’s Omnibus Motion to Compel Discovery filed at ECF #293, and

hereby moves the Court to grant Meggs’s motion in each and every subpart considered separately as if the

motion had been filed by Rhodes directly.

        Rhodes has been informed that this Court by the Honorable Judge Amit Mehta has given guidance that

mere notice of joinder in motions is sufficient without consideration of a motion to join in another co-

Defendant’s motion.

        Where Meggs’s motion specifically refers to Kelly Meggs, Stewart Rhodes moves the Court to apply

the same analysis and requests with regard to Rhodes the same as to Meggs and in addition to Meggs

specifically.

        Consultation with the United States Attorney’s Office (“USAO”) is unnecessary as the USAO has




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already given its view to Meggs in its consultation before Meggs filed his motion.

        Oral argument on Meggs’s motion is requested to the extent not duplicative.



Dated: September 12, 2022                  Respectfully Submitted,

                                          /s/ Edward L. Tarpley Jr.
                                       _____________________________
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                                        Elmer Stewart Rhodes III




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                                      CERTIFICATE OF SERVICE

         I hereby certify that this document is being filed on this September 12, 2022, with the Clerk of the
Court by using the U.S. District Court for the District of Columbia’s CM/ECF system, which will send an
electronic copy of to the following CM/ECF participants. From my review of the PACER account for this case
the following attorneys are enrolled to receive notice and a copy through the ECF system.

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                                   __/s/Edward L. Tarpley Jr. ______________________
                                    EDWARD L. TARPLEY, JR.




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